                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


In re:                                                 Case No. 24-47922-tjt

Heritage Collegiate Apparel, Inc. f/k/a          In Proceedings Under
M-Den, Inc., d/b/a The M Den                           Chapter 11

                                                       Hon. Thomas J. Tucker
                     Debtor.
                                          /

         DEBTOR’S FIRST DAY MOTION FOR ORDER AUTHORIZING
          PAYMENT OF PREPETITION EMPLOYEE OBLIGATIONS

         Heritage Collegiate Apparel, Inc. f/k/a M-Den, Inc., d/b/a The M Den

(“Debtor”), by and through its proposed attorneys, Schafer and Weiner, PLLC, for its

First Day Motion for Order Authorizing Payment of Prepetition Employee

Obligations (“Motion”), states:

                                    JURISDICTION

         1.    The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§

157 and 1334.

         2.    This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2).

         3.    Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409.




{01071053.1}                              1

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         4.    The bases for the relief requested herein are sections 105(a), 363(b), and

507 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy

Code”)1 and Rule 6003 of the Federal Rules of Bankruptcy Procedure (“FRBP”).

                              REQUESTED HEARING DATE

         5.    Contemporaneously with its filing of this Motion, the Debtor filed its

First Day Motion for Interim and Final Orders (I) Authorizing the Debtor To Use

Cash Collateral; (II) Providing Adequate Protection To the Pre-Petition Lenders;

and (III) Scheduling a Final Hearing (“Cash Collateral Motion” and together with

this Motion the “First Day Motions”). The Debtor requested that the Court schedule

a hearing on the First Day Motions on or before August 23, 2024.

                                     BACKGROUND

         6.    On August 16, 2024 (the “Petition Date”), the Debtor filed its Voluntary

Petition for relief (the “Chapter 11 Case”) Chapter 11 of Title 11 of the United States

Code.

         7.    The Debtor continues to operate its business and manage its financial

affairs and properties as a debtor-in-possession pursuant to §§ 1107(a) and 1108. No

official committee of creditors holding unsecured claims or other committees have

been formed under § 1102.


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   Unless otherwise noted to the contrary, all section references herein are
references to sections of the Bankruptcy Code.
{01071053.1}                             2

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         8.    Scott Hirth (“Hirth”) is the President and has been selected as the

Debtor’s responsible person in this bankruptcy case.

         9.    The Declaration of Scott Hirth in Support of Debtor’s Chapter 11

Petition and First Day Motions (“Hirth Declaration”) describes Debtor’s background

and the circumstances leading to its bankruptcy filing. See Hirth Declaration at DN

15.

                               THE DEBTOR’S BUSINESS

                                      BACKGROUND

         10.   Debtor has been operating the largest retail operation of the University

of Michigan (the “University”) branded clothing and other merchandise for almost

fifty (50) years. See DN 15 at ¶ 9.

         11.   For the last thirty (30) years1, the Debtor has been the official

merchandise retailer of the University of Michigan Athletics, including a link to

Debtor’s website on the University of Michigan Athletics’ website, pursuant to a July

1, 2009 licensing agreement and amendments (collectively the “Licensing

Agreement”). See DN 15 at ¶ 10.

         12.   The University purported to terminate the Debtor’s right under the

Licensing Agreement (including its right to be the University’s official merchandise


1
 This thirty-year stretch was interrupted in 2009 when the Debtor’s status as the
University’s official merchandise retailer was terminated for one year and then
reinstated.
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retailer, as well as the Debtor’s right to use the “M Den” name and URL) effective

May 13, 2024. See DN 15 at ¶ 11.

         13.   The Debtor and the University subsequently entered into a Forbearance

Agreement (retroactively effective to May 13) pursuant to which the Debtor was

authorized to continue to use the “M Den” name and URL and continued as the

official merchandise retailer. See DN 15 at ¶ 12.

         14.   The Forbearance Agreement was terminated by the University effective

June 11, 2024, but the University allowed the Debtor to continue operating as if the

Forbearance Agreement remained in effect in order to minimize disruption while the

University looked for a new official merchandise retailer and the Debtor pursued a

going concern sale. See DN 15 at ¶ 13.

         15.   This continued until August 15, 2024, when the University demanded in

writing that the Debtor cease and desist from further use of the “M Den” name and

URL. See DN 15 at ¶ 14.

         16.   Until very recently, Debtor operated from five separate retail locations

and sold merchandise through the MDEN.com website. See DN 15 at ¶ 15.

         17.   Debtor’s largest store by far is located on State Street in Ann Arbor (the

“Flagship Store”). The Debtor has also operated from stores located (i) on Main

Street in Ann Arbor, (i) in the Briarwood Mall in Ann Arbor (iii) in the Twelve Oaks

Mall in Novi, and (iv) on Columbia Street in Detroit. See DN 15 at ¶ 16.


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         18.   The Debtor ceased operating its Twelve Oaks Mall location on August

16, 2024 and ceased operating at Briarwood Mall and Columbia Street in Detroit on

August 19, 2024. The Debtor is in the process of moving its assets out of these three

locations. See DN 15 at ¶ 17.

         19.   As a result, Debtor currently has two brick and mortar locations: (i) the

Flagship Store, and (ii) the Main Street store. In addition, Debtor sells merchandise

from a tent located at the corner of Stadium and Main Streets in Ann Arbor (directly

across the street from Michigan Stadium) on game days, graduation days and other

special events. See DN 15 at ¶ 18.

         20.   Previously, the Debtor sold merchandise on game days inside of

Michigan Stadium and the University’s retail locations at various other sports venues,

but it does not anticipate doing so going forward. See DN 15 at ¶ 19.

                           CAUSES OF BANKRUPTCY FILING

         21.   A long chain of events contributed to Debtor’s financial distress and

ultimately its bankruptcy filing. Following decades of success, and expansion of

Debtor’s operations completed in 2019, Debtor was faced with the severe challenges

which the COVID-19 pandemic brought to the retail sector, particularly on a

suddenly empty college campus, and particularly to a company sitting on depleted

cash reserves. See DN 15 at ¶ 20.




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         22.   In 2019, Debtor funded three large capital improvements from its

operating capital and cash reserves. The Debtor spent nearly a million dollars

updating and implementing a new ERP software system. At the same time, the

Debtor funded roughly $600,000 to build out its Detroit and Main Street1 locations,

with both locations opening/reopening for business in November of 2019. The

Debtor self-funded these improvements, leaving it with lower-than-normal cash

reserves going into 2020, hitting head-on into the unanticipated and unprecedented

COVID-19 global pandemic that immediately followed. See DN 15 at ¶ 21.

         23.   Starting in March of 2020, virtually all of Debtor’s customers were

removed from Ann Arbor for an entire year. The University of Michigan’s football

and basketball games and other athletic events were played without fans present.

Students moved home, and students and faculty attended classes, graduation and

other ceremonies remotely. See DN 15 at ¶ 22.

         24.   With its customer base stuck at home, the Debtor’s retail sales took a

nosedive and the Debtor shifted to selling the majority of its product online. In 2020

over sixty percent (60%) of Debtor’s sales were online which was more than double




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  The Main Street location was closed in June of 2018 as the landlord demolished
the building and re-built it as a six story multi-use complex. Upon completion of
the building construction, the Debtor completed the build out of its unit, all funded
by cash reserves.
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the percentage of online sales in 2019. Unfortunately for the Debtor, its online sales

generated a much lower profit margin than its retail sales.1 See DN 15 at ¶ 23.

         25.   In addition, the pandemic created significant uncertainty in necessary

inventory levels and unpredictability in the supply chain. Leading up to the fall of

2020, it was not clear when students would be returning to campus or whether fans

would be able to attend games during the 2020 football and basketball seasons. The

Debtor was forced to decide whether to purchase its fall inventory and prepare for a

possible return of the students and fans, or risk being left flat footed without proper

inventory if the flood gates opened. See DN 15 at ¶ 24.

         26.   As the University’s official retail merchandise partner, the Debtor

determined it was necessary to purchase its fall inventory in order to be prepared for

the return of students and fans.       The Debtor purchased roughly $6,000,000 in

inventory, but the COVID regulations did not lift. Classes remained remote, and

college football and basketball games were played without fans, leaving Debtor with

millions of dollars in inventory and vendor obligations to repay without its more

profitable retail operations. See DN 15 at ¶ 25.

         27.   With traditional financing being generally unavailable, the Debtor

began seeking alternative financing to cover its cash shortages and began taking out


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  In addition to shipping costs, the royalty Debtor owed to the University’s for
online sales was significantly higher than the royalty owed to the University for
brick-and-mortar sales.
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high interest loans) which further deteriorated its financial condition. See DN 15 at ¶

26.

         28.   In addition to the shift to online sales, the Debtor’s profit model

underwent another significant shift in July of 2021 when the NCAA approved a

policy allowing student athletes to monetize their name, image and likeness (“NIL

Policy”). The Debtor was quick to respond to the NIL Policy and worked with the

University to launch a first of its kind name and number program for the 2021

football season. The Debtor’s agility in implementing the program was celebrated,

but its implementation was not without cost. The increased cost associated with

payment of the student athletes further depleted Debtor’s profit margin. See DN 15

at ¶ 27.

         29.   Despite all of the adversity, the Debtor’s profit showed slight

improvement in 2021. Students were returning to campus and sporting events and

graduations were once again celebrated at in-person events. The Debtor was making

strides at paying back its high interest secondary market loans. See DN 15 at ¶ 28.

         30.   Unfortunately, in fall and winter of 2022 when the supply chain issues

caused by the pandemic came home to roost, the Debtor was not strong enough to

withstand this final blow. See DN 15 at ¶ 29.

         31.   Throughout 2020 and 2021, the Debtor’s vendors struggled to complete

orders on timelines available prior to Covid and required Debtor to order inventory a


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year or more in advance of shipment. Debtor met the demands, and submitted

inventory orders a year or more in advance. See DN 15 at ¶ 30.

         32.    It backfired. During a two-weeks period in December 2022, Debtor

received over five million dollars ($5,000,000) in pre-ordered inventory. Much of

the inventory was delivered later than expected, after the 2022 football season, in a

glut difficult to even process, let alone sell. The vendors went largely unpaid and

some initiated lawsuits and obtained judgments which the Debtor could not pay. See

DN 15 at ¶ 31.

         33.    The Debtor started 2023 in the red and was ultimately not able to

recover.       Debtor’s sales sky-rocketed at the end of 2023 when University of

Michigan’s football team won the National Championship, but the royalties due to

the University on championship merchandise was even higher and Debtor’s profit

margin was slim. At the end of the day, the National Championship victory and the

increase in sales was not sufficient to provide the Debtor with a financial recovery.

See DN 15 at ¶ 32.

         34.    The pandemic, the high interest unconventional financing, the deluge of

inventory, lower profit margins attributable to online sales, the NIL Policy, and

Championship royalites ultimately contributed to the Debtor’s bankruptcy filing and

the end of its nearly fifty years of success as the official merchandise retailer to the

University of Michigan. See DN 15 at ¶ 33.


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                                   DEBTOR’S PAYROLL

         34.   On the Petition Date, the Debtor had approximately 151 employees

(“Employees”).      Thirty-five (35) of the Employees are paid a salary and the

remainder are paid hourly. See DN 15 at ¶ 72.

         35.   Prior to the Petition Date, and in the ordinary course of business, Debtor

typically paid obligations relating to Employee wages (“Wages”) on a bi-weekly

basis, with Wages being paid every two weeks on Friday for the period ending five

days earlier. See DN 15 at ¶ 73.

         36.   The Debtor provides Employees with the opportunity to participate in a

401K program and matches up to two percent (2%) of each employee’s contribution.

See DN 15 at ¶ 74.

         37.   The Debtor provides its Employees with access to health insurance

coverage and a Health Savings Account (“HSA”). The Debtor pays the health

insurance premiums for all employees.            In addition, the Debtor funds each

Employees’ HSA with an amount sufficient to pay their annual deductible. See DN

15 at ¶ 75.

         38.   The Debtor also offers dental and vision insurance to its Employees but

does not pay any of the premium. See DN 15 at ¶ 76.

         39.   The benefits described in paragraphs 36, 37 and 38 are collectively

referred to as the “Employee Benefits”). See DN 15 at ¶ 77.

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         40.   As of the Petition Date, the following Employees are “insiders” as the

term is defined in the Bankruptcy Code (i) Scott Hirth, (ii) Julie Corrin, (iii) Steve

Horning, (iv) Hunter Hirth, and (v) Robyn Horning. The compensation paid to each

is set forth below:

                Scott Hirth receives an annual salary of $160,000, Employee
                 Benefits and a cell phone. Mr. Hirth is in charge of purchasing,
                 marketing and business development and he oversees the finance
                 department.     Mr. Hirth received his Master of Business
                 Administration from the University of Michigan.

                Julie Corrin receives an annual salary of $160,000, Employee
                 Benefits and a cell phone. Ms. Corrin is in charge of retail
                 operations and oversees all store managers, runs the operations at
                 Michigan Stadium on game days and manages game day inventory.
                 Ms. Corrin has a Bachelor degree from Michigan State University.

                Steve Horning receives an annual salary of $160,000, Employee
                 Benefits and a cell phone. Mr. Horning is responsible for the
                 warehouse operations and restocking inventory at retail locations.
                 Mr. Horning is also responsible for managing facility operations
                 such as internet, phone service, UPS, copiers, etc. Mr. Horning has
                 his Bachelor degree from Central Michigan University.

                Hunter Hirth is Scott Hirth’s daughter. She receives an annual salary
                 of $60,000 and Employee Benefits. Ms. Hirth is the Debtor’s
                 marketing manager and social media coordinator.

                Robyn Horning is Steve Horning’s cousin. She is paid an annual
                 salary of $70,000 and she runs the shipping line for distribution
                 center.

See DN 15 at ¶ 78.




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         34.   Wages and Employee Benefits will be collectively referred to as the

“Employee Obligations”. See DN 15 at ¶ 79.

         35.   The Debtor is required by law to withhold from its Employees’ Wages

amounts related to federal, state, and local income taxes, as well as social security

and Medicare taxes (collectively, the “Withholding Taxes”) and to remit the same to

the appropriate taxing authorities (collectively, the “Taxing Authorities”). See DN 15

at ¶ 80.

         36.   The Debtor is also required to make matching payments from its own

funds on account of social security and Medicare taxes, and to pay, based on a

percentage of gross payroll and subject to state-imposed limits, additional amounts to

the Taxing Authorities for, among other things, state and federal unemployment

insurance (together with the Withholding Taxes, the “Payroll Taxes”). See DN 15 at

¶ 81.

         37.   The laws of the State of Michigan require Debtor to fund certain

amounts necessary to maintain workers’ compensation policies and programs to

provide the relevant Employees with coverage for claims arising from or related to

their employment (“Workers’ Compensation Expenses” and together with the Payroll

Taxes, the “Regulated Payroll Obligations”). See DN 15 at ¶ 82.

         38.   The Debtor processes its payroll with PayChex. See DN 15 at ¶ 83.




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         39.   The Debtor is required to fund its next payroll on August 29, 2024, for

payment to Employees on August 30, 2024. This payroll will total approximately

$144,000.00 and will cover Employee Obligations and Regulated Payroll Obligations

incurred from August 12, 2024 to August 25, 2024. See DN 15 at ¶ 84.

         40.   Approximately $61,700.00 of this amount will be compensation to

 Employees for prepetition services (“Prepetition Wages”). See DN 15 at ¶ 85.

         41.   No Employee will receive more than $15,150 in Prepetition Wages if

 this payroll is paid. See DN 15 at ¶ 86.

         42.   In addition to the payment of the Prepetition Wages, some or all of the

 additional Employee Obligations and Regulated Payroll Obligations will relate to

 prepetition services. See DN 15 at ¶ 87.

         43.   The vast majority of the value of the Debtor’s business arises from its

ongoing operations. The Employees are instrumental in allowing the Debtor to

continue operating as a going concern. See DN 15 at ¶ 88.

         44.   If the Debtor is unable to pay Employee Obligations when due, some of

the Employees may suffer extreme personal hardship and be unable to pay their daily

living expenses. See DN 15 at ¶ 89.

         45.   Furthermore, any delay or failure to pay Employee Obligations would

irreparably impair the Employees’ morale, dedication, confidence, and cooperation

and would adversely impact the Debtor’s relationship with its Employees at a time


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when the Employees’ support is critical to the success of the Debtor’s reorganization.

The Debtor acknowledges that many of the Employees may be terminated on or

shortly after the Petition Date because of anticipated store closures. However, there

are many Employees that the Debtor needs to continue its operations and the

confidence and morale of these continuing Employees will be damaged if the Debtor

terminates other Employees and does not pay them their final wages. See DN 15 at ¶

90.

         46.   The Debtor simply cannot risk the substantial damage to the value of its

business that would inevitably result from the loss of Employees or decline in the

Employees’ morale. See DN 15 at ¶ 91.

                                 RELIEF REQUESTED

         47.   Pursuant to sections 105(a), 363(b), and 507(a), the Debtor respectfully

requests that the Court enter an order, substantially in the form attached as Exhibit

A, (a) authorizing the Debtor, in its sole discretion, to pay and honor the Employee

Obligations (as defined below); (b) directing the Debtor’s prepetition banks and the

financial institutions to receive, process, honor, and pay all checks and electronic

payments related to the Employee Obligations; and (c) permitting the Debtor to

change or discontinue and implement new Employee Obligations in its sole

discretion and without further approval of the Court.



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                                   BASIS FOR RELIEF

         48.   Under section 507(a)(4)(A), each Employee is entitled to a priority

claim of up to $15,150 for “wages, salaries, or commissions, including vacation,

severance, and sick leave pay” earned within 180 days before the Petition Date.

Also, section 507(a)(5) provides up to $15,150 of priority status for Employees’

claims for contributions to certain employee-benefit plans, less amounts paid under

section 507(a)(4).

         49.   Section 363(b)(1) provides that “[t]he trustee, after notice and a hearing,

may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1), and section 105(a) provides, inter alia, that “[t]he

court may issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions of this Title.”

         50.   Furthermore, courts have authorized payment of prepetition wages and

benefits to employees under sections 363(b) and 105(a), and the “necessity of

payment” doctrine. See e.g., In re Gulf Air Inc., 112 B.R. 152, 153 (Bankr. W.D. La

1989) (the Court authorized payment of all salaries and wages, per diem expenses,

life and health insurance premiums and workers compensation premiums for

company’s 550 employees and dependents recognizing that the maintenance of the

Debtor’s work force was “indispensable” to its reorganization efforts).              In re

Michigan State Railway Company, Inc., 87 B.R. 921 (Bankr. E.D. Mich. 1988)


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(Although dealing with a railroad reorganization, a necessity of payment rule was

recognized when it was demonstrated that the payment of the prepetition claim was

necessary to maintain business of the Debtor). See also In re Goodrich Quality

Theatres, 616 B.R. 514, 517 (Bankr. W.D. Mich. 2020) (discussing the legal basis for

the necessity of payment doctrine and noting that “[t]he need to make payroll in order

to avoid immediate an irreparable harm is practically self-evident.” 616 B.R. at 521);

In re UNR Industries, Inc., 143 B.R. 506, 519 (Bankr. N.D. Ill. 1992) (Employee

payments authorized since the “necessity doctrine may be used to permit a Debtor to

pay the prepetition claims of . . . employees whose continued cooperation is essential

to the Debtor’s successful reorganization.”).

         51.   Courts in this district have routinely granted similar relief. See, e.g., In

re Select Distributors, LLC, Case No. 21-45689-tjt [DN 30, Filed July 12, 2021]; In

re Cadillac Nursing Home, Inc. d/b/a St. Francis Nursing Center, Case No. 16-41554

(TJT) [DN 23, filed February 12, 2016]; Telesource Services, LLC, Case No. 15-

45364 (TJT) [DN 28, filed April 8, 2015]; In re Shanta Corp. d/b/a St. Anne’s

Convalescent Center, Case No. 15-44578 (TJT) [DN 36, filed March 30, 2015]; In re

Associated Community Services, Inc., Case No. 14-44095 (PJS) [DN 20, filed March

18, 2014]; In re Acme Acres, LLC, Case No. 13-45044 (PJS) [DN 25, filed March

20, 2013]; In re Shanta Corp. d/b/a St. Anne’s Convalescent Center, et al., Case No.

12-43956 (TJT) [DN 31, filed February 27, 2012].


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         52.   The Debtor believes that most, if not all, of the Employee Obligations

relating to the prepetition period constitute priority claims under sections 507(a)(4)

and/or (a)(5).    As priority claims, the Debtor’s estate must pay the Employee

Obligations in full before satisfying any of the Debtor’s general unsecured

obligations. Accordingly, the relief requested may affect only the timing of the

payment of these priority obligations, and it will not prejudice the rights of general

unsecured creditors or other parties-in-interest.

         53.   Any delay or failure to pay Employee Obligations would irreparably

impair the Employees’ morale, dedication, confidence, and cooperation and would

adversely impact the Debtor’s relationship with its Employees at a time when the

Employees’ support is critical to the success of the Debtor’s reorganization. The

Debtor acknowledges that many of the Employees may be terminated in connection

with or shortly after the Petition Date with the closer of several of Debtor’s retail

locations. However, there are many Employees that the Debtor needs to continue its

operations and the confidence and morale of these continuing Employees will be

damaged if other Employees who are losing their jobs are not paid. The Debtor

simply cannot risk the substantial damage to the value of its business that would

inevitably result from the loss of Employees or decline in the Employees’ morale.

See Dk. No. 11 at ¶ 62.




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         54.   Pursuant to Bankruptcy Rule 6003, the Court may grant relief regarding

a motion to pay all or part of a prepetition claim within 21 days after the filing of the

petition if the relief is necessary to avoid immediate and irreparable harm. Absent an

order granting the relief requested in this Motion, the Employees will suffer undue

hardship and, in many instances, serious financial difficulties, as the amounts in

question are needed to enable some of the Employees to meet their own personal

financial obligations. Without the requested relief, the stability of the Debtor will be

irreparably undermined because otherwise loyal Employees will seek employment

alternatives. The Debtor will suffer imminent and irreparable harm if the relief

requested is not granted. Accordingly, the Debtor submits that the requirements of

Bankruptcy Rule 6003 are met and the relief sought herein should be granted

immediately.

         55.   With respect to Payroll Taxes in particular, the payment of such taxes

will not prejudice other creditors of the Debtor’s estate, as the relevant Taxing

Authorities generally would hold priority claims under section 507(a)(8) in respect of

such obligations.

         56.   Accordingly, by this Motion, the Debtor also seeks authority pursuant to

sections 507(a), 363(b), 105(a) and the necessity of payment doctrine to pay

Regulated Payroll Obligations and, in the Debtor’s sole discretion, the Employee

Obligations and as they become due and owing, and to continue, uninterrupted, its


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practices, programs and policies with respect to its Employees, as such practices,

programs, and policies were in effect as of the Petition Date.

         57.    Any delay in paying the Employee Obligations will be detrimental to

the Debtor, its Employees, its creditors, and the estate. Accordingly, the Debtor

seeks a waiver of the notice requirements under Bankruptcy Rule 6004(a) and any

stay of the order granting this motion, whether imposed by Bankruptcy Rule 6004(g)

or otherwise.


      DEBTOR’S BANKS SHOULD BE AUTHORIZED TO HONOR AND PAY CHECKS
    ISSUED AND MAKE OTHER TRANSFERS TO PAY THE EMPLOYEE OBLIGATIONS


         58.    The Debtor further requests that the Court authorize the Debtor’s banks

to receive, process, honor, and pay all prepetition and post-petition checks issued or

to be issued, and electronic fund transfers requested or to be requested, by the Debtor

to pay the Employee Obligations and Regulated Payroll Obligations. The Debtor

also seeks authority to issue new post-petition checks or affect new electronic fund

transfers to pay the Employee Obligations and Regulated Payroll Obligations and to

replace, where needed, any prepetition checks or electronic fund transfer requests.

         59.    As a result of the commencement of the Debtor’s case, and in the

absence of an order of the Court providing otherwise, the Banks may dishonor or

reject the Debtor’s checks, wire transfers, and direct deposit transfers relating to the

Employee Obligations and Regulated Payroll Obligations.

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         60.   Accordingly, for the reasons stated herein, Debtor seeks entry of an

order approving the payment of the Employee Obligations and Regulated Payroll

Obligations.

         61.   Additionally, the Debtor requests that this Court relieve it from the

obligation to identify each individual Employee as a creditor in this case. The Debtor

believes that identifying each individual Employee as a creditor will result in

needless expenses and administrative burden to the bankruptcy estate. Furthermore,

no Employee will be prejudiced if the Employees are not individually identified as

creditors in this case because the Employees will be paid and will no longer have

prepetition claims.

                                       NOTICE

         62.   The Debtor will (a) immediately provide notice of the hearing on this

Motion to: (i) the United States Trustee for the Eastern District of Michigan, (ii)

Bank of Ann Arbor, (iii) Newtek, (iv) TVT, (v) the entities listed on Exhibit B to

the Cash Collateral Motion or their agent, (vi) the Debtor’s 20 largest unsecured

creditors, and (v) all other parties who were required to be served under Fed. R.

Bank. P. 4001(d), and (b) give such notice by any one of the following methods

which is available: (i) ECF service; (ii) personal service; (iii) overnight mail; (iv)

facsimile, or (v) e-mail. In light of the nature of the relief requested, the Debtor

submits that no other or further notice is required.


{01071053.1}                           20

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                                  NO PRIOR REQUEST

         63.   No previous motion for the relief requested herein has been made to this

or any other court.

         WHEREFORE, the Debtor respectfully requests that the Court enter an

order, substantially in the form attached as Exhibit A, (i) authorizing Debtor, in its

sole discretion, to pay and honor the Employee Obligations and Regulated Payroll

Obligations; (ii) directing Debtor’s banks and other financial institutions to receive,

process, honor, and pay all checks and electronic payments related to the Employee

Obligations and Regulated Payroll Obligations; and (iii) permitting the Debtor to

change or discontinue and implement new Employee Obligations in its sole

discretion and without further approval of the Court.




                                               Respectfully submitted,

                                               SCHAFER AND WEINER, PLLC

                                               /s/ Kim Hillary
                                               KIM HILLARY (P67534)
                                               HOWARD BORIN (P51959)
                                               Proposed Attorneys for Debtor
                                               40950 Woodward Ave., Ste. 100
                                               Bloomfield Hills, MI 48304
                                               (248) 540-3340
Dated: August 19, 2024                         khillary@schaferandweiner.com



{01071053.1}                            21

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                                       Exhibit A

                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


In re:                                                   Case No. 24-47922-tjt

Heritage Collegiate Apparel, Inc. f/k/a                  In Proceedings Under
M-Den, Inc., d/b/a The M Den                             Chapter 11

                                                         Hon. Thomas J. Tucker
                    Debtor.
                                           /

             ORDER GRANTING DEBTOR’S FIRST DAY MOTION
           FOR ORDER AUTHORIZING PAYMENT OF PREPETITION
                      EMPLOYEE OBLIGATIONS

         Heritage Collegiate Apparel, Inc. f/k/a M-Den, Inc., d/b/a The M Den

(“Debtor”), having filed its First Day Motion for Order Authorizing Payment of

Prepetition Employee Obligations (“Motion”); Debtor having given due and

sufficient notice of the Motion under the circumstances; the Court having

jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334; this venue being

proper under 28 U.S.C. §§ 1408 and 1409; the relief requested in the Motion being

in the best interests of Debtor, its estate, creditors, and other parties-in-interest; and

after due deliberation and sufficient cause appearing therefore;

         IT IS HEREBY ORDERED:

         1.    The Motion is GRANTED.


{01071065.1}                              1

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         2.    Debtor is authorized to pay the Regulated Payroll Obligations1 and is

authorized, but not directed, to pay the Employee Obligations up to the amount of

$15,150 per Employee in accordance with 11 U.S.C. § 507(a)(4)-(5).

         3.    Debtor is authorized, but not directed, to pay all incidental costs and

expenses related to the Employee Obligations.

         4.    Debtor’s banks and other financial institutions are directed to receive,

process, honor, and pay all checks and electronic payments related to the Employee

Obligations and Regulated Payroll Obligations.

         5.    Payment of the Regulated Payroll Obligations and Employee

Obligations is subject to the terms of any order authorizing the Debtor’s to use cash

collateral, and without prejudice to the Debtor’s right to change or discontinue and

implement new Employee Obligations in its sole discretion and without further

approval of the Court, in the ordinary course of its business.

         6.    Notwithstanding any provision in Fed. R. Bankr. P. 6003 or 6004 to the

contrary, (a) this Order will be effective immediately and enforceable upon its entry;

(b) Debtor is not subject to any stay in the implementation, enforcement, or

realization of the relief granted in this Order; and (c) Debtor is authorized and

empowered, and may in its discretion and without further delay, take any action

necessary or appropriate to implement this Order.

1
  Capitalized terms not otherwise defined herein shall have the meaning attributed
to them in the Motion.
{01071065.1}                             2

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         7.    The Court shall retain jurisdiction with respect to all matters arising

from or related to the implementation of this Order.




{01071065.1}                              3

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